Case 2:04-cr-20028-.]DB Document 47 Filed 06/03/05 Page 1 of 3 Page|D 53

 
  

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE Fli.ED B`r' r. D.CJ.

 

 

WESTERN DIVISION
05 JUH -3 Al'l 9= 26
RGBEFZT §‘“i. £`ji `!"F`£C’)LIO
UNITED STATES OF AMERICA ) §1|~§1‘5*§1§§ HE§EPE'!FS
Plaintiff, §
VS § CR. NO. 04-20028-01-B
DEBORAH FUTRELL, §
Defendant. ))
ORDER TO SURRENDER

 

The defendant, Deborah Futrell, having been Sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to Surrender to the Bureau of Prisons by reporting to the FMC Lexington,
3301 Leestown Road, Lexington, KY 40511 by 2:00 p.m. On FRIDAY, JUNE 24, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant Shall
report immediately to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Mernphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the AQ day cf June, 2005.

f

§ DANIEL BREEN \
ED sTATES DISTRICT JUDGE

 

T .
hrs document entered on

Wr`th fha
Flule 55 and/or 32({:,} F;H(: glasth sh
f gm

    

Case 2:04-cr-20028-.]DB Document 47 Filed 06/03/05 Page 2 of 3 Page|D 54

ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:04-CR-20028 was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listedl

 

 

Marvin E. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

l\/lemphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

